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                    IN THE TINITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA

                                            Alexandria Division

       TINITE,D STATES OF AMERICA

                         V.
                                                                    Case   No. l:20-mj-174
       ARTHUR CHESTE,R MORGAN

                    Defendant.




                  AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A
                   CRIMINAL COMPLAINT        ARREST WARRANT

       I,   Jesse Adams, Special Agent, being     first duly sworn, hereby depose and state as follows:

                                            INTRODUCTION

        1.       As a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and Explosives

("ATF"), I am authorized pursuant to Title      18, United States Code, Section 3051 to execute search


warrants and enforce any of the criminal, seizure, or forfeiture provisions of the laws of the United

States. Additionally, I am an "investigative or law enforcement officer of the United States" within

the meaning of Section 2510(7) of Title 18, United States Code, that is, an officer of the United

States who is empowered       by law to conduct investigations of and to make arrests for offenses

enumerated in Section 2516 of     Title   18.


       2.        I have been a Special Agent with the ATF since April 2018. I am currently assigned

to the Washington Field Division's Falls Church Group          II. My assignments   include investigating

individuals who are involved in the illegal possession and transfer of firearms, violent crimes

involving firealms, and armed narcotics trafficking. Prior to my appointment with the ATF,I was




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a sworn law enforcement officer with the United States Marshals Service for over four years, and

a swom law enforcement          officer with the Commonwealth of Virginia for over seven years.

            3.     As an ATF agent, I have participated in investigations which resulted in the arrests,

searches, and seizures       of individuals and property. I have participated in the use of cooperating

informants, pen registerltrap and trace devices, video surveillance, GPS tracking devices, search

warrants, and audio surveillance, among other law enforcement techniques. Additionally, I have

participated in numerous controlled buys of firearms and narcotics from targets of law enforcement

investigations. I have also been involved in proactive and reactive cases. Based on my training

and experience,       I   am familiar with the methods used in furtherance of a variety of criminal

activities.

            4.     This affidavit, which is based upon personal knowledge, information provided by

other law enforcement personnel, and evidence obtained during this investigation, is submitted in

support      of an application for a criminal complaint and arrest warrant charging ARTHUR

CHESTER MORGAN with possession of                a firearm   by a convicted felon, in violation of Title 18,

United States Code, Section 922(ilQ). This affidavit does not include all of the facts known to

me regarding this investigation, only those sufficient to establish probable cause that federal laws

have been violated.


                                           PROBABLE CAUSE

            5.     In December 2019, General Services Administration Office of Inspector General

("GSA-OIG") special agents obtained an arrest warrant for ARTHUR CHESTER MORGAN

for   a   violation of Title 18, United States Code, Section 1343 (Wire Fraud) based on      a   multi-agency

investigation into MORGAN and MORGAN's company, Surveillance Equipment Group, Inc.

ATF became involved in this investigation in November 2018, when                   it   was discovered that


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MORGAN purchased several uffegistered machinegun conversion kits from a specific Federal

Firearms Licensee/Special Occupational Taxpayer ("SOT") out-of-state manufacturer. A

determination was made regarding these conversion kits that resulted in them being considered

"combinationfsl of parts designed and intended for use in converting a semiautomatic weapon into

a machinegun," which are machineguns, as defined in Title 26, United States Code, Section

5S45(b). MORGAN is a convicted felon and therefore prohibited from owning firearms.

       6.      On December 17,2019, federal law enforcement agencies executed four federal

search warrants at addresses associated with   MORGAN. MORGAN was arrested the same day

at his residence in Lorton, Virginia, which is within the Eastern District of Virginia, and the

location of one of the four search warrants. Another search warrant was executed at a property

associated with   MORGAN in Louisa, Virginia, and two at storage units.

       7.     Upon his arrest, MORGAN was advised of his Miranda rights and placed into a

vehicle by GSA-OIG special agents and witnessed by another federal agent. The agents conducted

a recorded interview   with MORGAN after he waived his rights and agreed to speak with agents.

As it pertains to firearms, MORGAN initially told a GSA-OIG special agent that there were no

weapons in his residence. An ATF Special Agent was present and after that initial conversation

had ended, he approached   MORGAN. The agent identified himself     as   with the ATF, advised that

he was there to discuss firearms-related issues and ultimately asked again whether there were any

firearms in the residence. MORGAN advised that there were two handguns and a shotgun in the

office. MORGAN also stated there was a revolver in the master bedroom closet that belonged to

his wife, S.M. Upon having been questioned about his criminal status and restriction from

possessing firearms,   MORGAN later stated that the firearms were not his, that they were in the

house, but he had not used them for any crime. In reference to the Glock machinegun conversion



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kits, MORGAN claimed that he did not know they were regulated pafts, but admitted that he had

purchased them in the past. He stated that he no longer possessed the conversion kits and that he

had shipped them to a personal friend in Poland.

       8.      A search of the residence revealed four firearms, multiple firearm-related items and

narcotic evidence, as well as body armor and other evidence that was seized by federal agents.

Evidence located in an upstairs room identified as MORGAN's office included one black Kolpin

long gun bag, which contained: one Franchi Model SPAS 12 Shotgun, SN: AA18706;15 less-

lethal shotgun shells from MK Ballistic Systems; and 45 shotgun shells, birdshot and slug. Also

in the office was one red Blackhawk bag, which contained: five targets; five holsters; two gun

cleaning kits; two gun locks; apair of protective glasses; a pair of glasses; a green and black pistol

case; hearing protection; two belt straps   with attachment tools; two markers; one firearm bench

rest; one pistol hand grip; one grey handgun case containing a dual magazine pouch and two

magazines for a Smith   &   Wesson firearm; one Smith   & Wesson, Model 469,9mm handgun,          SN:

TBT7270;24 rounds of Federal 9mm ammunition from the magazines; one black and grey

handgun case containing a dual magazine pouch and two magazines anlmez firearm; one Imez,

Model IJ70-17AH, .380 caliber handgun, SN: RU05676;22 rounds of Remington .380 caliber

ammunition from the magazines; and 187 rounds               of   ammunition including 50 rounds of

Winchester 17 HMR, 87 rounds of American Eagle .380 caliber, and 50 rounds of American Eagle

9mm.

       9.      Also located in the office were: one thermos which contained 7 grams of suspected

marijuana; one red case containing two lighters, two smoking devices, a grinder, and a white pill

container and several metal picks/scrappers/brushes; approximately one gram             of   suspected

marijuana from within the above pill bottle; one black bag containing two smoking devices, plastic



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baggies, rolling papers, a spoon with residue, a black smoker's kit/holder, a plastic pipe, a tea

diffuser and a crown royal bag.

           10.      Located within the master bedroom closet was: one green and black handgun case

containing a dual speed loader pouch and two speed loaders for a revolver; one Smith & Wesson

.38 Caliber revolver, SN: J125298; and 10 rounds of .38 caliber ammunition from the speed

loaders.

           11   .   Later on December   17   , 2019, special agents, including one from the ATF, traveled

to S.M.'s place of employment in Arlington, Virginia. Special agents met with S.M. where she

escorted agents to a more private seating area in the building to speak. Special agents advised

S.M. of MORGAN's arrest and the execution of the search warrant at her residence. Special

agents advised S.M. that she was not required to speak           with agents, that she was not in trouble,

and that she was not under arrest.      A special agent then advised S.M. of her Miranda rights, which

she acknowledged and she then agreed to speak          with agents.

           12.      S.M. advised that she did not know anything about MORGAN's business and

confirmed the second bedroom (home office) as the space he utilized for his business. She advised

that MORGAN had only been using the home office for his business for approximately one year.

S.M. stated that she did not use the office and the only time she would go in there was to print

something from time to time.

           13.      S.M. was advised that several firearms were recovered from the home. S.M. said

that she was aware of      MORGAN's criminal history from "many years ago,"         at   which point, agents

confirmed to her that MORGAN was a convicted felon. S.M. said that she had a firearm for

protection in the bedroom. S.M. said that she did not know that there were three firearms in the

office.    She said that   MORGAN was supposed to put them in storage several years ago. S.M.



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stated to agents that she is not a gun person. S.M. also stated that she did not buy the firearms and

that the one in the bedroom was provided to her by MORGAN 2-3 years              prior. S.M.   stated that

she has not seen       MORGAN use the firearms that were recovered and that she was not aware of

how MORGAN came into possession of the firearms.

          14.        S.M. further advised that she went to Sharp Shooters range in Springfield, Virginia

with MORGAN and shot one firearm with him. She advised that he taught her how to hold it, and

said it was a smaller      gun.   She recalled that both of them signed paperwork at the shooting range.


She stated that this trip to the range was approximately six years prior.

          15.        Special agents concluded the interview and left S.M.'s location, but she returned to

the residence in Lorton, Virginia, as the execution of the search warrant was concluding.

          16.        Special agents interviewed S.M. and P.C. in the parking area of the residence. S.M.

stated that she and      MORGAN were the only residents of that home. S.M. further stated that the

marijuana located in the office was not hers and that she did not smoke marijuana because she was

in the medical profession and gets random drug testing.

          17   .     On January 77,2020, federal agents conducted an interview of one of   MORGAN's

colleagues,        "J.C." During the interview,   J.C. advised that he and MORGAN had gone to a

shooting range five or six years prior, to shoot guns. J.C. did not remember if the firearms were

MORGAN's, but believed that he shot a pistol and MORGAN shot what J.C. believed was a

shotgun. J.C. believed the range was located near the location of the interview, which was in

Reston,   Virginia. Based on the respective locations of the range he seemed to refer to and the

Sharp Shooters range that S.M. referred to, law enforcement believes these to have been two

different ranges.




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       18.     All of the recovered firearms were examined      and determined to be "firearm(s)" as

defined in Title 18, United States Code, Section 92T(a)(3). Additionally, it was determined that

the firearms were not manufactured in the Commonwealth of Virginia and, therefore, the firearms

traveled in, and/or affected interstate commerce.

       19.     A review of Prince George's County, Maryland, Circuit Court certified conviction

documents shows that MORGAN was convicted on June 1, 1982                of Second Degree Murder,

Assault with the Intent to Murder, Rape or Rob, and Use of Handgun in a Crime of Violence. The

original sentence was to 15 years' imprisonment, and he served at least a period of years. Requests

from both the Commonwealth of Virginia and the State of Maryland show there are                       no

pardon/clemency records     for MORGAN. Additionally, MORGAN was convicted of
misdemeanor obstruction of justice on May 72, 2010, which stemmed from an instance of

attempting to purchase a firearm on November 22,2008, after providing false information on a

criminal history consent form in Virginia.

                                              CONCLUSION

       20.     Based on all of the foregoing,   I submit that there is probable   cause to conclude that


on or about Decembe r l7,2L19,ARTHUR CHESTER MORGAN, after having been convicted

of a crime punishable by imprisonment for a term exceeding one year and knowing he had been

so convicted, did possess a firearm   within the Eastern District of Virginia in violation of Title   18,


United States Code, Section 922(g)(l).




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       21.     In consideration of the foregoing, I respectfully request that this Court issue a

criminal complaint and arrest warrant for ARTHUR CHESTER MORGAN.




                                                    A. Adams
                                                Jesse
                                                ATF Special Agent




Respectfully submitted and attested to in
accordance with the requirements of
Fed. R. Crim. P. 4.1 via telephone
On June 26,2020:


                         Digitally signed by Theresa
                         Carroll Buchanan
                         Date: 2020.06.26 10:19:28
                         -04'00'
Hon. Theresa Carroll Buchanan
United States Magistrate Judge
Eastern District of Virginia




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